
Upon consideration of the petition filed on the 9th of February 2016 by Defendant (John M. Barth, Jr.) in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 9th of June 2016."
Upon consideration of the petition filed by Defendant (John M. Barth, Jr.) on the 11th of February 2016 in this matter for a writ of certiorari to review the order of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 9th of June 2016."
